Case 1:03-cV-01232-.]DB-tmp Document 33 Filed 06/09/05 Page 1 of 3 Page|D 71

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UNITED STATES DISTRICT COURT ~ D“"-
WESTERN DISTRICT OF TENNESSEE 05 JUN -9 pH _
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§Y `»T H-._ iii :aou
W “R§j¢ Li__=>- § let go
LARRY JOHNSON, ) 111 r-,t.uap,q
)
Plaintiff, )
)
vs. ) Civil Action No.: ]:03-1232 -B/P
)
CORRECTIONS CORPORATION )
OF AMERICA, et al., )
)
Defendants. )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction ol` the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005.

Dated: this 01 day of \j\J\~C ,2005.

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Ti.is document entered on the docket sheet in compliance
with Flu!e 58 and/or 79(3) FHCP on ' l '

Case 1:03-cV-01232-.]DB-tmp Document 33 Filed 06/09/05 Page 2 of 3 Page|D 72

APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,

columbia SC 29201 on June§§@, 2005.

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By; %WMQ U%W

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 33 in
case 1:03-CV-01232 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

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Honorable .1. Breen
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